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BONNER C. WALSH
Oregon State Bar ID Number 131716
bonner@walshpllc.com
WALSH LLC
1561 Long Haul Road
Grangeville, ID 83530
Phone 541.359.2827
Facsimile 866.503 8206


                         IN THE UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     MEDFORD DIVISION


COLLIN HAYES,                                    Civil Action No.: 1:19-cv-00362

               Plaintiffs,

       vs.
                                                 MAGNUSON-MOSS WARRANTY ACT
                                                 (15 U.S.C § 2301, et seq.)
VOLKSWAGEN OF AMERICA, INC..,

               Defendant                         DEMAND FOR JURY TRIAL


                             PLAINTIFFS’ ORIGINAL COMPLAINT
                                    AND JURY DEMAND

       COLLIN HAYES (hereinafter “Plaintiff”) file this Plaintiff’s Original Complaint and

Jury Trial Demand complaining of VOLKSWAGEN OF AMERICA, INC. This action is filed

for violations of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301. Plaintiff alleges as

follows:

                                           PARTIES

1. At all times material herein, Plaintiff has resided in Jackson County.


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2. Defendant VOLKSWAGEN OF AMERICA, LLC (“Volkswagen”, “Defendant”, or

      “Manufacturer”) is a New Jersey corporation who conducts business in Oregon but does not

      maintain a registered agent in Oregon.     Volkswagen’s authorized representative is

      Volkswagen Group of America, Inc., 2200 Ferdinand Porsche Drive, Herndon, VA 20171.

                                            JURISDICTION

3. Jurisdiction of this Court arises under to 15 U.S.C. § 2310(d), 28 U.S.C. §§ 1331. Plaintiff

      seeks relief in excess of $50,000.00.

4.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 (b) and (c), because: (i)

      Defendant is actively doing business in this State and subject to personal jurisdiction

      throughout the State; (ii) upon information and belief, Defendant transacts business in the

      State and in the District because it has contracted with residents of the District through their

      sales with residents of the District; (iii) upon information and belief Defendant has

      committed illegal acts in the District by and through its sales and/or have provided defective

      products to residents of this district, and (iv) a substantial part of the events or omissions

      giving rise to the claim occurred in this District.

                                                 FACTS

    5. On July 10, 2017, Plaintiff purchased a 2015 Volkswagen Golf TDI, VIN:

       3VWCA7AU5FM520394 (the “Vehicle”) from Joe Manchens Volkswagen for $41,100.08.

       The Vehicle is registered in Plaintiff’s name.

    6. The Vehicle was one of many Volkswagen vehicles that did not comply with federal

       emissions standards. Such vehicles are the subject of a class action settlement, In re:

       Volkswagen “Clean Diesel” Marketing, Sales Practices, and Products Liability Litigation,

       MDL NO. 2672 CRB (JSC) (N.D. Cal. Oct. 25, 2016) (“the MDL”). Vehicles that were

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       sold to consumers before the “Dieselgate” scandal were included in that litigation.

       However, Plaintiff’s Vehicle is not covered under the class action settlement, as it was

       purchased as a new vehicle after the emissions problem had been purportedly repaired in

       May of 2017 and after time to participate in the MDL had expired. The Vehicle, however,

       is covered by an Extended Emissions Warranty Coverage, as described in Exhibit A

       attached hereto and beginning on page 9.

    7. The Vehicle was purchased as a new vehicle. Since that time the Vehicle has had

       significant nonconformities during the manufacturer, defendant Volkswagen’s factory

       warranty period. Plaintiff uses the Vehicle primarily for personal, family and household

       purposes. Since purchase, the Vehicle has encountered an excessive number of defects,

       including but not limited to noise when going over bumps, clunk noises in the suspension,

       noise in the footwell, steering wheel noise, noise from the door seals, noise from the vents,

       noise from the transmission, transmission slip and general “jerkiness,” a burning plastic

       smell, and other defects listed in the warranty repair history and identified through

       discovery. Additionally, Plaintiff has observed a 20% decrease in fuel efficiency. The

       Vehicle has been repaired at least seven (7) times and has been in the shop for repairs more

       than seventeen (17) days. The Vehicle still has problems to this day.

    8. Despite confirmation of the nonconformities and repeated lengthy repair attempts,

       defendants have been unable to correct the nonconformities. These nonconformities

       substantially impair the use, value and or safety of the Vehicle.

    9. Despite contacts by Plaintiff with Volkswagen, Defendant has not been able to resolve

       Plaintiff’s issues with the Vehicle.



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                                   FIRST CAUSE OF ACTION
                              BREACH OF WRITTEN WARRANTY
                          (Pursuant to the Magnuson-Moss Warranty Act)

    10. Plaintiff is a consumer, as contemplated by the Magnuson-Moss Warranty Act.

    11. Manufacturer is a warrantor and supplier of a consumer product, as contemplated by the

       Magnuson-Moss Warranty Act.

    12. Plaintiff is entitled by the terms of the written warranty provided to him by Manufacturer

       through its authorized dealer to enforce the obligations of said warranty.

    13. The warranty provided that Manufacturer would repair or replace defective parts, or take

       other remedial action free of charge to Plaintiff in the event that the Vehicle failed to meet

       the specification as set forth in the written warranty.

    14. The written warranty was the basis of the bargain with respect to the contract for sale

       executed and entered into between Plaintiff and Manufacturer.

    15. The purchase of the Vehicle was induced by the written warranty, upon which Plaintiff

       relied.

    16. Plaintiff has honored Plaintiff’s obligations under the warranty.

    17. Manufacturer breached its obligations under the written warranty by failing to reasonably

       repair the Vehicle’s defects after being afforded a reasonable number of repair attempts or a

       reasonable opportunity to cure.

    18. Plaintiff notified Manufacturer of its breach within a reasonable time after discovering it by

       tendering the Vehicle to Manufacturer’s authorized dealer for repair as instructed by

       Manufacturer’s written warranty and by providing written notification to Manufacturer.

    19. As a direct and proximate result of Manufacturer’s failure to comply with its written

       warranty, Plaintiff has suffered damages, including, but not limited to, loss of use,

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       diminished value, incurred and/or needed repair costs, aggravation, and incidental and

       consequential damages. In accordance with 15 U.S.C. §2310(d)(1), Plaintiff is entitled to

       bring suit for damages and other relief.

20. Pursuant to the MMWA, 15 U.S.C. § 2310(d)(2), Plaintiff is entitled to recover as part of the

      judgment costs and expenses of the suit, including attorney's fees based on actual time

      expended. As a proximate result of the misconduct of Defendant as alleged herein, and in an

      effort to protect its rights and to enforce the terms of the agreement as more particularly set

      forth above, it has become necessary for Plaintiff to employ the legal services of the

      undersigned attorneys to prosecute this action. Plaintiff has incurred and continues to incur

      legal fees, costs and expenses in connection therewith.

21. The amount in controversy of this action exceeds the sum of $50,000, exclusive of interest

      and costs for these claims.



                  SECOND CAUSE OF ACTION FOR VIOLATIONS OF THE
                          BREACH OF IMPLIED WARRANTY
                      (Pursuant to the Magnuson-Moss Warranty Act)

    22. Paragraphs 1 through 9 above are realleged and hereby incorporated by reference as if fully

       set forth herein, verbatim.

    23. The Vehicle purchased by Plaintiff is subject to an implied warranty of merchantability as

       defined in 15 U.S.C. §2301(7).

    24. Manufacturer contracts to sell goods. Manufacturer sells vehicles to purchasers, orders

       component parts, and/or assembles them into final products. They are merchants with

       respect to the goods of the kind sold to Plaintiff.



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    25. The parties’ contract for sale as a matter of law implies that the Vehicle is merchantable,

       because Manufacturer is a merchant with respect to such goods.

    26. The implied warranty was breached by Manufacturer because it manufactured a Vehicle of

       insufficient quality. The Vehicle is not fit for the ordinary purpose for which such goods are

       used.

    27. The Vehicle has failed to meet Plaintiff’s reasonable expectations.

    28. The Vehicle has not provided dependable transportation, and it has not been trouble-free.

    29. The Vehicle would not pass without objection in the trade under the contract description and

       does not conform to the promises or affirmations of fact made by Manufacturer.

    30. As a result of the breach of implied warranty by Manufacturer, Plaintiff is without the

       reasonable value of the Vehicle.

    31. As a result of the breach of implied warranty by Manufacturer, Plaintiff has suffered and

       continues to suffer damages, including those specifically identified in the foregoing

       paragraphs.

    32. Plaintiff requests attorney’s fees and shows that he is entitled to fees and costs pursuant to

       the fee-shifting provision of section 2310(d) the Magnuson-Moss Warranty Act.

    33. In addition to any other relief and as a result of Defendant’s violations this Court should

       rescind the sale and refund Plaintiff his purchase prices less any reasonable allowance for

       use of the vehicle.




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                                          PRAYER


    WHEREFORE, Plaintiff requests that the Defendant be cited to appear and answer in this

action and upon final trial of this cause, the Court issue judgment that Plaintiff have and recover

against Defendant as follows:


       1) On his first claim for relief against Defendant for rescission of the sale of the Vehicle

           or in the alternative damages in an amount to be determined by the jury, costs and

           reasonable attorney fees, prejudgment interest at 9% and his costs and disbursements

           herein or such other relief as the Court may deem appropriate;

       2) On his second claim for relief against Defendant for rescission of the sale of the

           Vehicle or in the alternative damages in an amount to be determined by the jury, costs

           and reasonable attorney fees, prejudgment interest at 9% and his costs and

           disbursements herein or such other relief as the Court may deem appropriate; and

       3) For such other relief that the Court deems appropriate.

            PLAINTIFF HEREBY MAKES HIS DEMAND FOR JURY TRIAL

                                        Respectfully submitted,

                                        By: /s/ Bonner C. Walsh
                                        Bonner C. Walsh, OSB #131716
                                        WALSH LLC
                                        1561 Long Haul Road
                                        Grangeville, ID 83530
                                        TEL 541.359.2827
                                        FAX 866.503.8206


                                        ATTORNEY FOR PLAINTIFF




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